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                                                            Our File No.: 113852

                                                                                        UNITED STATES DISTRICT COURT
                                                                                        EASTERN DISTRICT OF NEW YORK



                                                            Tammy R. Clock,                                              Docket No:

                                                                                   Plaintiff,                            COMPLAINT

                                                                                        vs.
                                                                                                                         JURY TRIAL DEMANDED
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                          GARDEN CITY, NEW YORK 11530




                                                            Mercantile Adjustment Bureau, LLC,

                                                                                  Defendant.


                                                                    Tammy R. Clock (hereinafter referred to as “Plaintiff”), by and through the undersigned
                                                            counsel, complains, states and alleges against Mercantile Adjustment Bureau, LLC (hereinafter
                                                            referred to as “Defendant”), as follows:
                                                                                                    INTRODUCTION
                                                                    1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                            Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).
                                                                                                JURISDICTION AND VENUE
                                                                    2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                            and 15 U.S.C. § 1692k(d).
                                                                    3.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the
                                                            events or omissions giving rise to the claim occurred in this Judicial District.
                                                                    4.     At all relevant times, Defendant conducted business within the State of New
                                                            York.




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                                                                                                        PARTIES

                                                                    5.      Plaintiff Tammy R. Clock is an individual who is a citizen of the State of New
                                                            York residing in Suffolk County, New York.
                                                                    6.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
                                                                    7.      On information and belief, Defendant Mercantile Adjustment Bureau, LLC, is a
                                                            New York Limited Liability Company with a principal place of business in Erie County, New
                                                            York.
                                                                    8.      Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                            owed by consumers.
                                                                    9.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                     ALLEGATIONS

                                                                    10.     Defendant alleges Plaintiff owes a debt (“the Debt”).
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                                                                    11.     The Debt was primarily for personal, family or household purposes and is
                                                            therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                    12.     Sometime after the incurrence of the Debt, Plaintiff fell behind on payments
                                                            owed.
                                                                    13.     Thereafter, at an exact time known only to Defendant, the Debt was assigned or
                                                            otherwise transferred to Defendant for collection.
                                                                    14.     In its efforts to collect the debt, Defendant contacted Plaintiff by letter (“the
                                                            Letter”) dated April 27, 2018. (“Exhibit 1.”)
                                                                    15.     The Letter was the initial communication Plaintiff received from Defendant.
                                                                    16.     The Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).
                                                                    17.     The Debt was incurred on a Kohl’s Department Stores credit card underwritten by
                                                            Capital One, N.A.
                                                                    18.     The Letter sets forth a “Current Balance” of $648.80.
                                                                    19.     The Letter states, “The account balance may periodically increase due to the
                                                            addition of accrued interest as provided in your agreement with the original creditor or as
                                                            otherwise provided by law.”
                                                                    20.     The Letter fails to provide information that would allow Plaintiff to determine
                                                            what Plaintiff will need to pay to resolve the debt at any given moment in the future.


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                                                                    21.     The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine what he or she will need to pay to resolve the debt at any given moment in
                                                            the future.
                                                                    22.     The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine the amount of interest owed.
                                                                    23.     For instance, the Letter fails to indicate the applicable interest rate.
                                                                    24.     For instance, the Letter fails to indicate the date of accrual of interest.
                                                                    25.     For instance, the Letter fails to indicate the amount of interest during any
                                                            measurable period.
                                                                    26.     The Letter fails to contain an explanation, understandable by the least
                                                            sophisticated consumer, of any fees and interest that may cause the amount stated to increase.
                                                                    27.     The Letter fails to state what part of the amount stated is attributable to principal.
                                                                    28.     The Letter fails to state what part of the amount stated is attributable to interest.
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                                                                    29.     The Letter fails to state what part of the amount stated is attributable to late fees.
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                                                                    30.     The Letter fails to state what part of the amount stated is attributable to other fees.
                                                                    31.     The Letter fails to state that the creditor will accept payment of the amount set
                                                            forth in full satisfaction of the debt if payment is made by a specified date.
                                                                    32.     The Letter, because of the aforementioned failures, would render the least
                                                            sophisticated consumer unable to determine what she will need to pay to resolve the debt at any
                                                            given moment in the future.
                                                                    33.     The Letter, because of the aforementioned failures, would render the least
                                                            sophisticated consumer unable to determine the amount of his or her debt.
                                                                    34.     The Letter, because of the aforementioned failures, and especially because of the
                                                            use of the word “current,” would render the least sophisticated consumer unable to determine the
                                                            amount of her debt because the consumer would not know whether interest and fees would
                                                            continue to accrue, or whether the amount of the debt was static.
                                                                    35.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” clearly from the perspective of the least sophisticated consumer.
                                                                    36.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” accurately from the perspective of the least sophisticated consumer.




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                                                                    37.        The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” without ambiguity from the perspective of the least sophisticated consumer.
                                                                    38.        The Letter, because of the aforementioned failures, violates 15 U.S.C. § 1692e
                                                            and 15 U.S.C. § 1692g. See Balke v. Alliance One Receivables Management, Inc., No. 16-cv-
                                                            5624(ADS)(AKT), 2017 WL 2634653 (E.D.N.Y. June 19, 2017).

                                                                                                        JURY DEMAND

                                                                    39.        Plaintiff hereby demands a trial of this action by jury.

                                                                                                    PRAYER FOR RELIEF
                                                                    WHEREFORE, Plaintiff respectfully requests judgment as follows:
                                                                          a.      Damages against Defendant pursuant to 15 U.S.C. § 1692k; and
                                                                          b.      Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and
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                                                                          c.      Plaintiff's costs; all together with
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                                                                          d.      Such other relief that the Court determines is just and proper.


                                                            DATED: April 27, 2018

                                                                                                              BARSHAY SANDERS, PLLC

                                                                                                              By: _/s/ Craig B. Sanders ____________
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